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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-678V
                                      Filed: August 19, 2015
                                           Unpublished

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SHIRLEY DARLENE PARDUE,                *
                                       *
                    Petitioner,        *     Joint Stipulation on Damages;
                                       *     Influenza (“Flu”) Vaccine; Adhesive
                                       *     Capsulitis; Impingement Syndrome;
SECRETARY OF HEALTH                    *     Subacromial Bursitis; Special
AND HUMAN SERVICES,                    *     Processing Unit (“SPU”)
                                       *
                    Respondent.        *
                                       *
****************************
Danny Ellis, Massey & Associates, PC, Chattanooga, TN, for petitioner.
Claudia Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION1

Vowell, Chief Special Master:

       On July 30, 2014, Shirley Darlene Pardue filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that as the result of an influenza [“flu”]
vaccination on September 29, 2012, she suffered adhesive capsulitis, possible
impingement syndrome, and subacromial bursitis of the right shoulder. Petition, ¶ 8;
Stipulation, filed August 18, 2015, ¶¶ 2, 4. Petitioner further alleges that she
experienced the residual effects of this injury for more than six months, and has
received no prior award or settlement for this injury. Petition, ¶¶ 9, 11; Stipulation, ¶¶ 4-
5. “Respondent denies that the flu immunization is the cause of petitioner’s adhesive
capsulitis, possible impingement syndrome, and subacromial bursitis of the right
shoulder, any other injury, or her current disabilities.” Stipulation, ¶ 6.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
August 18, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

       Respondent agrees to pay petitioner a lump sum of $65,000.00 in the form of a
check payable to petitioner. Stipulation, ¶ 8. This amount represents compensation for
all damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.
                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                     2
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